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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

                                                §
IN RE STACY SYLVESTER                           §
LEE MERRITT, SR.                                §           3:18-MC-00042-B
                                                §
                                                §
                                                §
                                                §

                                   ORDER TO SHOW CAUSE

       It has come to the attention of the Court that the provisions of Local Rule 83.89 are

implicated by a Final Consent Judgment concerning Stacy Sylvester Lee Merritt, Sr., entered on

February 15, 2018, in the Judicial District Court of Collin County, Texas, 417th Judicial Court.

                                                I.

                                       BACKGROUND

       The State of Texas Unauthorized Practice of Law Committee filed a petition in the above-

referenced state court action alleging that Merritt, an attorney not admitted to the State Bar of

Texas, engaged in a pattern of conduct constituting unauthorized practice of law in the State of

Texas. The committee sought a temporary restraining order, a temporary injunction, and a

permanent injunction enjoining Merritt from engaging in the unauthorized practice of law.

       Thereafter, Merritt and the committee agreed to the entry of the consent judgment, which

permanently restrains and enjoins Merritt from, inter alia, practicing law in Texas state courts,

representing persons in Texas in matters arising under the laws of Texas, and representing himself

as a person authorized to provide legal services in Texas state courts or in connection with legal

matters arising under Texas law.

       Pursuant to Local Rule 83.8(d), Merritt should have reported the aforementioned
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proceedings to this Court but did not do so.

                                                 II.

                                       CONCLUSION

       The court has concluded that Merritt should show cause why he should not be disciplined

pursuant to the authority of Local Rule 83.8. Merritt is therefore ORDERED within 30 days of the

date of this order to file a verified document setting forth cause, if any, why he is not subject to

discipline under the court’s local rules.

       SO ORDERED.

       DATED: JUNE 4, 2018.




                                               _________________________________
                                               JANE J. BOYLE
                                               UNITED STATES DISTRICT JUDGE




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